









Dismissed and Memorandum Opinion filed April 29, 2004









Dismissed and Memorandum Opinion filed April 29, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-03-00544-CR

NO. 14-03-00545-CR

NO. 14-03-00546-CR

NO. 14-03-00547-CR

____________

&nbsp;

TEA
MANUFACTURING CORP., Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from County Criminal
Court at Law No. 2

Harris County, Texas

Trial Court Cause Nos. 1153734;
1153735; 1153736; 1153737 &nbsp;

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant=s agent, Bernard Oczkowski, has been filed with this
Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered an
opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.








PER CURIAM

Judgment rendered
and Memorandum Opinion filed April 29, 2004.

Panel consists of
Justices Yates, Anderson, and Hudson.

Do not publish C Tex.
R. App. P. 47.2(b).

&nbsp;





